Case 21-01167-abl   Doc 126-17   Entered 10/01/22 00:23:06   Page 1 of 4




                                      EXHIBIT 17
               Case 21-01167-abl          Doc 126-17        Entered 10/01/22 00:23:06            Page 2 of 4


Bart Larsen

From:                 endre@ftm-investments.com
Sent:                 Monday, May 25, 2020 9:20 AM
To:                   'Oliver Hemmers'; bill@ftm-investments.com
Cc:                   Anne@infinitycapital.com
Subject:              RE: Infinity Funding

Follow Up Flag:       Follow up
Flag Status:          Completed


Hi Oliver,

I understand where you are coming from and appreciate your concerns. I also know you must do what you feel is best
for Infinity and if that is indeed a relationship with
Mike and Debbie then even if I do not understand. I must respect it.

But let’s not throw the baby out with the bathwater just yet.

Firstly, I think that the fund should close once it’s at 140% or a little more and not go the full 42 months. This is a huge
incentive for Infinity to collect as fast as possible.
It also removes the issue of too much cash. Plus, it would have people lined up to get into the next series. And if you
stopped investing at month 30 then that means
that receivables purchased from the old fund are a minimum of 12 months old and should settle fast.

Now as you have met the Tecumseh team you should know that they are far more flexible and want an equal working
partnership and not a dictatorship so it may just
be a little more in negotiations.

As for the example of how much better off you are with HA.
From what I have seen from real life I must disagree with this.

HA is not as cut and dry.

If you look at Draw 1 as an example, I think you still owe about $120,000 on the $250,000 borrowed.
This is because the interest is being charged on interest.

And anything left at the end of 30 months will be an Infinity problem and you will be charged the outstanding amount
and any interest owed and the 6% on the return of capital.
That’s a minimum of 47.5% plus 6% = 53.5% interest on the outstanding amounts.

If you take a portfolio of say $14,000,000 you need to pay $221,666 in interest each month. This is irrespective of what
you collect and does not factor the 6% on closed receivables.
This means that when there is a shortfall in interest this is added to the amount owed and then this is accruing interest
at 1.58333% per month.

Let’s look at Health Plus which is about $3,000,000 from December and let’s be straight here and include the $45,000
interest you paid for the use of this money in November.

From December to now you are paying a minimum of $47,664 per month. It’s actually more because you are paying

                                                               1
                Case 21-01167-abl         Doc 126-17        Entered 10/01/22 00:23:06          Page 3 of 4

interest of 1.58333% per month on this or an additional $5k per
month. But let’s forget that and say that Health Plus has cost you $47,664 x 6 as that’s 6 months from December to May
= $285,984 and now add in the $45,000 you paid in
November its $330,984 for the use of this money. This debt is also growing by an additional $5,074,98 each month as
the interest is not being met.

So, while you get deeper and deeper in an interest hole. HA sits there above barking orders all the while looking good.

You saw the issue with the estimate and the additional 10K you paid in interest and 6% fees on this. If any receivables
are bad or go to collection, then HA expect Infinity pay this
money and any interest accrued on these as well as the 6% for the return of capital.

So, how about you tell me realistically what you feel Infinity should get and we try and negotiate it.
To me that’s the most sensible solution.

Yes, I am biased when it comes to HA as they lie and cheat and make up reasons why they won’t pay FTM and say we
are not doing our job and they don’t owe us anything.

You have known us for years and you know Simon too. Surely this must be a better working environment to what you
currently have.
With the new fund you do not pay interest, so your debt is not growing. Bad debt is not forced on you and neither is any
interest for it. Currently you get 20% upfront and keep
getting that on reinvested amounts and the current offer was 15% off the back which I believe would be calculated
monthly and paid on the end so it’s on the total amount.

Again, tell me what you want, and think is fair, and we will try and get it.

Kind regards
Endre


From: Oliver Hemmers <oliver@infinitycapital.com>
Sent: Monday, May 25, 2020 1:40 AM
To: 'Dobozy Endre S' <endre@ftm‐investments.com>; bill@ftm‐investments.com
Cc: Anne@infinitycapital.com
Subject: Infinity Funding

Hi Endre, hi Bill,

I assume both of you have seen Mike’s spreadsheet, which does not show what I asked for, namely who get’s what’s left
over. We do not even need a spreadsheet with all these numbers because that is only distracting from the actual facts.
Maybe Mike and Chad think that I am a complete idiot and do not see through this but at this point we have nothing to
move forward on. Worse, Infinity is better off staying with HedgeAct paying interest on a loan since eventually Infinity
will own the receivables that are paid off. I do not see this in the new structure. There is no backend. I do not even see
the 15% of the backend. And the question is 15% of what? Based on what Mike provided all receivables (settled and
open) roll into the next fund in this case round 3. This does not happen with HedgeAct. Let’s compare the two funds. The
intrinsic reinvestment for Tecumseh corresponds to three rounds of draws from HedgeAct:

    1. HedgeAct Draw‐1: A $500k loan from HedgeAct with $400k in receivables purchased running for 18 to 24
       months will gain Infinity ($100k upfront + $200k at the end in receivables) a total of $300k. (This is based on
       HAS‐1 numbers)


                                                               2
              Case 21-01167-abl         Doc 126-17       Entered 10/01/22 00:23:06          Page 4 of 4

    2. HedgeAct Draw‐2: A $500k loan from HedgeAct with $400k in receivables purchased running for 18 to 24
       months will gain Infinity ($100k upfront + $200k at the end in receivables) a total of $300k. (This is based on
       HAS‐1 numbers)
    3. HedgeAct Draw‐3: A $800k loan from HedgeAct with $640k in receivables purchased running for 18 to 24
       months will gain Infinity ($160k upfront + $320k at the end in receivables) a total of $480k. (This is based on
       HAS‐1 numbers)
    4. The run‐time for 3 above might not be long enough to complete the repayment for HAS, so let’s assume only
       half will repay within the 42 months and the other half will mature in the following Tecumseh draw. So, Infinity
       would only get $160k instead of the $320k in 3 and thus only $320k in total for 3.
    5. Therefore, Infinity would make with HedgeAct over 42 months $920k, either in cash and/or receivables to be
       collected.

Let’s look at Tecumseh based on my numbers from the PowerPoint deck:

    1. Tecumseh draw with 42 months runtime: $500k invested with $400k for receivables purchased with gain Infinity
       $100k upfront.
    2. Tecumseh draw with 30 months runtime: $500k invested with $400k for receivables purchased with gain Infinity
       $100k upfront.
    3. Tecumseh draw with 18 months runtime: $800k invested with $640k for receivables purchased with gain Infinity
       $160k upfront.
    4. According to my presentation with yearly investments the fund makes $1,490k with 1,200k being $500k
       returned and 140% ($700k) distributed in returns and fees. That leaves $290k, which is my understanding is not
       what Infinity is getting.
    5. So, lets assume Infinity receives 15% of the $290k which is $43,500.
    6. Now, in Mike’s presentation based on my return ratios but with and influx of 5 times $500k the valuation value
       increases to $4.2M and then it shows outflow of $5,080,000 with $1,347,273 left but he is not specific where it
       flows, how much Infinity makes, and who else is getting some of that money. We know that when $2.5M is
       being invested over the course of the first year the return is closer to 120% rather than %140%. So, this would
       still mean that in this example $5.5M would go to the investors (unless the $5,080,000 is the exact amount). But
       what happens to the $1,347,273??? Would Infinity get 15% of that? If yes, then that would be about $200k,
       which is a little less than calculated in 5 above for only one $500k investment.
    7. There is still quite a lot of uncertainty and based on what I can deduce from hear‐say Infinity would make about
       $400k from Tecumseh when compared to HedgeAct or a whopping 43%. And that with as Simon put it with an
       outrageously high interest rate from HedgeAct.

This model is either completely fucked up or you come up with an explanation how and why it is a benefit for Infinity to
take money from Tecumseh. Maybe you have an answer by tomorrow for our phone call. Thanks.

Kind Regards, Oliver




                                                            3
